Case 6:22-cv-01756-RBD-RMN Document 58 Filed 07/12/23 Page 1 of 2 PageID 454




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

ALEXA KLINAKIS,
JORDAN KRAVETZKY,
NICOLE WHITE,
MATEO VELEZ,
LANEY HEIDRICH,
CLAUDIA RODRIGUEZ,
and ANGIE CIPRIANO,
on behalf of themselves and
as representatives of other class
and collective action members
similarly situated,
                                      Case No.: 6:22-cv-01756-RBD-RMN
      Plaintiffs,
v.

ALTUS JOBS, LLC, and
SAUM DUSTIN SHARIFI

      Defendants
___________________________________________/

                    JOINT REPORT REGARDING SETTLEMENT

      The Parties, by and through their undersigned counsel and pursuant to this

Court’s FLSA Scheduling Order (Doc. 35), hereby file this Joint Report regarding

the settlement conference that took place on June 23, 2023, the conference was held

at Plaintiff’s counsel’s offices and attended by Jesse I. Unruh Esq. and Jolynn M.

Falto-Tomas, Esq. The parties have not settled but wish to continue settlement

discussions for three weeks up to and including August 2, 2023. Counsel for the
Case 6:22-cv-01756-RBD-RMN Document 58 Filed 07/12/23 Page 2 of 2 PageID 455




Parties suggest that this additional time may provide for more meaningful

settlement discussions.

      Respectfully submitted this 12th day of July, 2023.

 By: /s/ Jesse I. Unruh                        By: Jolynn M. Falto
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 Attorneys for Defendant                       Altamonte Springs, Florida 32701
                                               Phone: (407) 636-7004
                                               Counsel for Plaintiffs and the
                                               class/collective action members.

                            CERTIFICATE OF SERVICE

      I hereby certify that on this 12th day of July, 2023, the foregoing was

electronically filed with the Court by using the CM/ECF portal, which will send a

notice of electronic filing to all counsel of record.


                                                 /s/ Jesse I. Unruh
                                                 Attorney




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